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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION

   ADRIANNE POPECK                                )
                                                  )
                  Plaintiff,                      )
                                                  ) CASE NO. 3:16-cv-138-GNS
   v.                                             )
                                                  )
   RAWLINGS COMPANY LLC                           )
                                                  )
   and                                            )
                                                  )
   DEBRA FORD

                  Defendants.

                                PLAINTIFF’S NOTICE OF APPEAL
                                      Electronically Filed

         Notice is hereby given that Adrianne Popeck, plaintiff in the above-styled case, hereby

  appeals to the United States Court of Appeals for the Sixth Circuit the Judgment entered in this

  action on January 18, 2019, Dkt. No. 158. Plaintiff Popeck specifically gives notice that she

  appeals the interlocutory orders, rulings, findings, determinations, and decrees merged or

  incorporated into those specified orders.


                                              Respectfully submitted,



                                              __/s/ Robyn Smith__________
                                              Robyn Smith
                                              Abney Law Firm, PLLC
                                              624 West Main Street
                                              5th Floor
                                              Louisville, Kentucky 40202
                                              (502) 498-8585

                                              Counsel for Plaintiff
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 29th day of January, 2019, I served, via ECF, a true and correct
  copy of the foregoing upon:

  Shannon Hamilton
  Ashley Hopkins
  Stites & Harbison, PLLC
  400 West Market Street, Suite 1800
  Louisville, KY 40202-3352
  (502) 587-3400



                                                        __/s/ Robyn Smith__________
                                                        Counsel for Plaintiff
